[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                             JUDGMENT ENTRY.
{¶ 1} This appeal is considered on the accelerated calendar under App.R. 11.1(E) and Loc.R. 12, and this Judgment Entry shall not be considered an Opinion of the Court pursuant to S.Ct.R.R.Op. 3(A).
{¶ 2} Defendant-appellant, Leonard Smith, appeals the judgment of the trial court convicting him of one count of aggravated robbery, with a firearm specification, and one count of robbery. He was convicted following a jury trial.
{¶ 3} After thoroughly reviewing the record and the applicable law, Smith's appointed appellate counsel, pursuant to Anders v.California,1 states in his brief that he has found no errors in the proceedings below and has filed a motion to withdraw as counsel.
{¶ 4} Under Anders, this court is now charged with the task of independently reviewing the record for any prejudicial errors that would warrant the reversal of Smith's convictions. After reviewing the entire record, we conclude that there was no prejudicial error in the proceedings below, and we hold that there are no grounds to support a meritorious appeal. The judgment of the trial court is, therefore, affirmed, and appellate counsel's motion to withdraw is overruled.
{¶ 5} Although we have concluded that this appeal is frivolous pursuant to App.R. 23 and is without "reasonable cause" under R.C. 2505.35, we refrain from taxing costs and expenses against Smith because it is clear from the record that he is indigent.
{¶ 6} Further, a certified copy of this Judgment Entry shall constitute the mandate, which shall be sent to the trial court under App.R. 27.
Sundermann, P.J., Hildebrandt and Gorman, JJ.
1 (1967), 386 U.S. 738, 87 S.Ct. 1396.